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6                         IN THE UNITED STATES DISTRICT COURT
7                                FOR THE DISTRICT OF ARIZONA
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9    Fernando Gastelum,                               No. CV-17-02567-PHX-ESW
10                  Plaintiff,                        ORDER
11   v.
12   Imara Holdings Incorporated,
13                  Defendant.
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16            Based upon the Stipulation (Doc. 31) of Plaintiff Fernando Gastelum and

17   Defendant Imara Holdings, Inc. dba Residence Inn by Marriott Phoenix, and good cause

18   appearing:

19            IT IS ORDERED granting the Stipulation to Dismiss with Prejudice (Doc. 31).

20            IT IS FURTHER ORDERED that the civil case captioned Fernando Gastelum v.

21   Imara Holding, Inc. a Delaware Corporation d/b/a/ Residence Inn by Marriott Phoenix,

22   Case No. 2:17-CV-02567-PHX-ESW (the “Lawsuit”), is dismissed with prejudice.

23            IT IS FURTHER ORDERED that each party shall bear its own attorneys’ fees

24   and costs incurred in connection with the Lawsuit.

25            Dated this 18th day of January, 2018.

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